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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    )
            v.                      )               Criminal No. 19-10080-NMG
                                    )
(1)   DAVID SIDOO,                  )
(2)   GREGORY COLBURN,              )
(3)   AMY COLBURN,                  )
(4)   DIANE BLAKE,                  )
(5)   TODD BLAKE,                   )
(8)   MOSSIMO GIANNULLI,            )
(9)   ELIZABETH HENRIQUEZ,          )
(11) DOUGLAS HODGE,                 )
(14) LORI LOUGHLIN,                 )
(18) HOMAYOUN ZADEH, and            )
(19) ROBERT ZANGRILLO,              )
                                    )
            Defendants.             )
____________________________________)

               GOVERNMENT’S MOTION TO UNSEAL DKTS. 400 AND 401

       At the initial status conference in this case, this Court sealed the government’s motion

regarding conflicts of interest, Dkt. 400, and ordered the parties to meet and confer about

redactions that would allow the brief to be filed on the public docket. The Court likewise sealed

defendant Robert Zangrillo’s response to the government’s motion. See Dkt. 401. For the reasons

set forth below, there is no cognizable reason to keep these two filings under seal. Accordingly,

the government respectfully requests that the redacted forms of the pleadings be unsealed.

       The public has a common-law right of access to judicial documents. See Nixon v. Warner

Communications, 435 U.S. 589, 597 (1978). Courts have long recognized that “public monitoring

of the judicial system fosters the important values of quality, honesty and respect for our legal

system.” Siedle v. Putnam Inv., Inc., 147 F.3d 7, 10 (1st Cir. 1998). In addition to the common-
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law right of access, both the public and the press enjoy a constitutional right of access to criminal

proceedings under the First and Fourteenth Amendments. See Globe Newspaper Co. v. Super. Ct.,

457 U.S. 596, 603-06 (1982); In re Providence Journal Co., Inc., 293 F.3d 1, 10 (1st Cir. 2002)

(constitutional right of access to criminal proceedings extends to “documents and kindred

materials submitted in connection with the prosecution and defense of criminal proceedings”).

       When evaluating a request to unseal records, “a court must carefully balance the

presumptive public right of access against the competing interests that are at stake in a particular

case . . . keeping in mind that ‘only the most compelling reasons can justify non-disclosure of

judicial records that come within the scope of the common-law right of access.’” United States v.

Kravetz, 706 F.3d 47, 59 (1st Cir. 2013).

       The defendants have provided no compelling reason to keep the above-referenced filings

under seal. At the status conference, counsel for defendants Sidoo and Zangrillo cited the public

nature of the case and the defendants’ desire to have the parties’ briefs unsealed simultaneously,

so that any press coverage would reflect both sides’ arguments. Counsel for defendant Douglas

Hodge has likewise cited the “high profile of USC,” one of the alleged victims in this case, and of

the three law firms that simultaneously represent USC and defendants in this case—Ropes and

Gray, Latham and Watkins, and Nixon Peabody—as a basis for the defendants’ “responsive filings

[to be] public when [the government’s] filing is read by the press and public.” See June 6, 2019

e-mail from counsel, attached hereto as Exhibit A.

       The desire to shape press coverage is not a legitimate reason to keep pleadings sealed until

the opposing party has an opportunity to respond. See Kravetz, 706 F.3d at 61 (categories of

documents that are properly sealed include financial records, family affairs, illnesses and other

medical information). That is particularly the case where, as here, the briefing—with the limited



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exception of certain portions that the government proposes to redact because they relate to a

defendant’s potential cooperation—focuses not on the defendants themselves, but on the conflicts

of their attorneys. While these conflicts with their own clients might be embarrassing to the firms,

the “fear of adverse publicity . . . is insufficient to defeat public access,” even when it affects the

defendant, and not merely the law firm that represents him. Kravetz, 706 F.3d at 64. And that

fear is, in any event, overstated here, where the government’s filing includes the full

correspondence from Latham and Watkins and Ropes and Gray setting forth their respective

positions on the issue.

       Likewise, the First Circuit has explicitly rejected the approach of sealing briefs until

responsive pleadings have been filed. In Providence Journal Co., Inc., the court noted that the

trial court “decided to refrain from reviewing each individual memorandum to decide whether it

could be made available to the public until after the time had expired for the submission of any

possible reply memorandum.” 293 F.3d at 15. The First Circuit concluded that this procedure

“unnecessarily prolongs the process. Each individual memorandum either contains restricted

information (in which case it is subject to redaction or sealing) or it does not (in which case it does

not pose a threat to the defendant’s Sixth Amendment rights).” Id.

       Accordingly, the Government respectfully requests, that the Court unseal redacted versions

of the government’s brief and any responsive pleadings, and that any redactions be limited to those

that are consistent with applicable law.




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                                                    Respectfully submitted,

                                                    ANDREW E. LELLING
                                                    United States Attorney


                                             By:     /s/ Eric S. Rosen
                                                    ERIC S. ROSEN
                                                    JUSTIN D. O’CONNELL
                                                    LESLIE A. WRIGHT
                                                    KRISTEN A. KEARNEY
                                                    Assistant United States Attorneys

Date: June 10, 2019




                                  Local Rule 7.1 Certification

       I hereby certify that the government has conferred with counsel for the above-captioned

defendants, most of whom have responded to the Government’s e-mails. The defendants take a

variety of positions on the Government’s motion, ranging from “no position” to “opposition.”


                                                    /s/ Eric S. Rosen
                                                    ERIC S. ROSEN
                                                    Assistant United States Attorney


                                      Certificate of Service

       I hereby certify that on June 10, 2019, I filed a copy of this motion on the ECF docket.


                                                    /s/ Eric S. Rosen
                                                    ERIC S. ROSEN
                                                    Assistant United States Attorney




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